                                Case 6:20-bk-03799-KSJ                   Doc 1        Filed 07/03/20           Page 1 of 17


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Universal Towers Construction, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Crowne Plaza Universal Orlando
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7800 Universal Blvd.
                                  Orlando, FL 32819
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.ihg.com/crowneplaza/hotels/us/en/orlando/mcouv/hoteldetail


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                 Case 6:20-bk-03799-KSJ                     Doc 1         Filed 07/03/20              Page 2 of 17
Debtor    Universal Towers Construction, Inc.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                               Case 6:20-bk-03799-KSJ                      Doc 1        Filed 07/03/20            Page 3 of 17
Debtor   Universal Towers Construction, Inc.                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                              Case 6:20-bk-03799-KSJ                      Doc 1        Filed 07/03/20             Page 4 of 17
Debtor    Universal Towers Construction, Inc.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 3, 2020
                                                  MM / DD / YYYY


                             X   /s/ Lis R. Oliveira-Sommerville                                          Lis R. Oliveira-Sommerville
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Eric S. Golden, Esq.                                                  Date July 3, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eric S. Golden, Esq.
                                 Printed name

                                 Burr & Forman LLP
                                 Firm name

                                 200 S. Orange Ave.
                                 Suite 800
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     407-540-6600                  Email address      egolden@burr.com

                                 146846 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Universal Towers Construction, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 3, 2020                            X /s/ Lis R. Oliveira-Sommerville
                                                                       Signature of individual signing on behalf of debtor

                                                                       Lis R. Oliveira-Sommerville
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      Case 6:20-bk-03799-KSJ                       Doc 1         Filed 07/03/20                 Page 6 of 17


 Fill in this information to identify the case:
 Debtor name Universal Towers Construction, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Amadeus                                                         Trade debt                                                                                               $20,843.74
 Hospitality
 Americas I
 29618 Network
 Place
 Chicago, IL
 60673-1296
 Dormakaba USA Inc.                                              Trade debt                                                                                                 $2,740.11
 P. O. Box 896542
 Charlotte, NC
 28289-6542
 Ecolab, Inc.                                                    Trade debt                                                                                                 $3,847.98
 P. O. Box 100512
 Pasadena, CA
 91189-0512
 G & R Plumbing                                                  Trade debt                                                                                                 $2,131.90
 Enterprises Inc
 2545 S Nashville
 Ave
 Orlando, FL
 32805-5255
 M7 Services LLC                                                 Trade debt                                                                                                 $2,656.08
 19747 Highway 59 N
 #340
 Humble, TX
 77338-3576
 Massey Services                                                 Trade debt                                                                                                 $3,397.35
 Inc.
 P. O. Box 547668
 Orlando, FL
 32854-7668
 Ocean Bank                                                      Bank Loan                                                                                              $763,340.00
 780 NW 42nd Ave
 Ste 400
 Miami, FL 33126




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Universal Towers Construction, Inc.                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Onpeak                                                          Trade debt                                                                                                 $9,540.06
 8313 Collection
 Center Dr
 Chicago, IL
 60693-0083
 Proscape                                                        Trade debt                                                                                                 $2,332.00
 285 E Oak Ridge Rd
 Orlando, FL
 32809-4140
 RD Pool Maint Inc                                               Trade debt                                                                                                 $2,800.00
 2353 N Stewart St
 Kissimmee, FL
 34746-3046
 Royal Cup Inc.                                                  Trade debt                                                                                                 $2,927.09
 P. O. Box 841000
 Dallas, TX
 75284-1000
 Sheraton Lake                                                   Trade debt                                                                                               $10,803.86
 Buena Vista
 12205
 Apopka-Vineland Rd
 Orlando, FL 32836
 Southern Aluminum                                               Trade debt                                                                                               $11,012.19
 P. O. Box 884
 Magnolia, AR
 71754-0884
 Summit Broadband                                                Trade debt                                                                                                 $4,101.09
 P. O. Box 10822
 Naples, FL
 34101-0822
 Summit Broadband                                                Trade debt                                                                                                 $6,943.99
 Inc.
 P. O. Box 10822
 Naples, FL
 34101-0822
 Sunbrite Outdoor                                                Trade debt                                                                                                 $4,080.30
 Furniture Inc.
 610 Irene Street
 Orlando, FL
 32805-1050
 System Tech                                                     Trade debt                                                                                                 $8,594.50
 Services Inc
 851 Central Park Dr
 Sanford, FL
 32771-6602
 Team Travel Source                                              Trade debt                                                                                                 $8,245.20
 12910 Shelbyville
 Road Ste 215
 Louisville, KY
 40243-1594




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Universal Towers Construction, Inc.                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Visit Orlando                                                   Trade debt                                                                                                 $2,400.00
 6277 Sea Harbor Dr,
 Ste 400
 Orlando, FL
 32821-8028
 Waste Connect                                                   Trade debt                                                                                                 $4,319.08
 1099 Miller Drive
 Altamonte Springs,
 FL 32701-2069




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Universal Towers Construction, Inc.                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Constrazza International Construction, Inc.                                          35%
                                                                                                                                 *See Note below
 100 N.E. 3rd Ave, Ste 280
 Fort Lauderdale, FL 33301

 Universal Towers Investimentos, Ltda                                                 65%
 Av. Isaac Povoas, 586,
 SI 04 Edf Wall St. Centr.
 Sul, Cuiaba MT 78.005 Brazil

* Pursuant to that certain Final Judgment issued on March 13, 2020, in Case No. 2015-CA-008342-A, in the Circuit Court
of the 9th Judicial Circuit in and for Orange County, Florida, and sec. 607.1436(6), Fla. Stat., Constrazza International
Construction, Inc., has no rights or status as a shareholder of the Debtor except to receive the amounts awarded by the
Final Judgment. As a result, Universal Towers Investimentos, Ltda holds 100% of the shareholder rights and status with
respect to the outstanding shares of the Debtor’s stock, other than Constrazza’s bare economic right. The Debtor
reserves all rights to dispute or object to any claim asserted by Constrazza on account of its interests in the Debtor and
otherwise.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date July 3, 2020                                                           Signature /s/ Lis R. Oliveira-Sommerville
                                                                                            Lis R. Oliveira-Sommerville

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Universal Towers Construction, Inc.                                                          Case No.
                                                                                 Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       July 3, 2020                                             /s/ Lis R. Oliveira-Sommerville
                                                                      Lis R. Oliveira-Sommerville/President
                                                                      Signer/Title




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Universal Towers Construction, Inc.   Ashberry Water Condition Inc.         Cintas Corp
7800 Universal Blvd.                  2450 E 4th Avenue                     P. O. Box 630910
Orlando, FL 32819                     Tampa, FL 33605-5431                  Cincinnati, OH 45263-0910




Eric S. Golden, Esq.                  AT&T (IHG)                            CIT
Burr & Forman LLP                     Three Ravinia Dr., Ste 100            21146 Network Pl
200 S. Orange Ave.                    Atlanta, GA 30346                     Chicago, IL 60673-1211
Suite 800
Orlando, FL 32801

ADP                                   Birch Street Systems                  Commercial Drraperies Inc
1851 N Resler Dr                      1301 Dove Street Ste 300              7681 High Pine Rd
#MS-100                               Newport Beach, CA 92660-2462          Orlando, FL 32819-5166
El Paso, TX 79912-8023



ADP                                   Bright House                          Constrazza International Constructio
                                                                                                               I
P. O. Box 842875                      P. O. Box 7`95                        100 N.E. 3rd Ave, Ste 280
Boston, MA 02284-2875                 Pasadena, CA 91109-7195               Fort Lauderdale, FL 33301




ADP                                   Busy Bean Coffee Inc.                 CRB Hospitality Mgmt
5800 Windward Pkwy                    P. O. Box 350                         1650 Sand Lake Road, Ste 101
Alpharetta, GA 30005-8802             Mount Pleasant, SC 29464              Orlando, FL 32809-7671




Advanced Resourcing LLC               Carlson Wagonlit Travel               CRB Hospitality Mgmt
9112 Boyce Ave                        P. O. Box 860487                      1650 Sand Lake Rd Ste 130
Orlando, FL 32824                     Minneapolis, MN 55486-0487            Orlando, FL 32809-7686




Amadeus Hospitality Americas I        CCR Solutions, Inc.                   Cusanos Bakery
29618 Network Place                   4351 35th Street                      5480 W Hillsboro Blvd
Chicago, IL 60673-1296                Orlando, FL 32811-6509                Coconut Creek, FL 33073-4307




Ambius LLC                            Chemsearchfe                          Dex Imaging Inc
P. O. Box 14086                       P. O. Box 971269                      P. O. Box 17299
Reading, PA 19612-4086                Dallas, TX 75397-1269                 Clearwater, FL 33762-0299




Andrews Filter & Supply Corp          Cintas Corp                           Dex Imaging Inc.
2309 Coolidge Ave                     97627 Eagle Way                       P. O. Box 17454
Orlando, FL 32804-4897                Chicago, IL 60678-7627                Clearwater, FL 33762-0454
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Dex Imaging, Inc.                  Envirostat                             Granite
5109 W Lemon St                    P. O. Box 592575                       P. O. Box 982119
Tampa, FL 33609-1105               Orlando, FL 32859-2575                 Boston, MA 02298-3119




Dormakaba USA Inc.                 FedEx                                  Granite Telecommunications LLC
P. O. Box 896542                   P. O. Box 660481                       100 Newport Avenue Ext
Charlotte, NC 28289-6542           Dallas, TX 75266-0481                  Quincy, MA 02171-1759




Dormakaba USA Inc.                 FedEx                                  Granite Telecommunications LLC
P. O. Box 890247                   P. O. Box 94515                        P. O. Box 983119
Charlotte, NC 28289-0247           Palatine, IL 60094-4515                Boston, MA 02298-3119




Dow Jones & Co Inc.                Ferguson Enterprises, Inc.             Guest Supply Inc.
200 Burnett Road                   P. O. Box 100286                       P. O. Box 6771
Chicopee, MA 01020-9983            Atlanta, GA 30384-0286                 Somerset, NJ 08875-6771




Eckert Seamans Cherin Mellott      FPL Energy Services                    Halperns Steak & Seafood
P. O. Box 643187                   P. O. Box 25426                        P. O. Box 116421
Pittsburgh, PA 15264-3187          Miami, FL 33102-5426                   Atlanta, GA 30368-6421




Ecolab, Inc.                       Freshpoint Central Florida             HCA
P. O. Box 100512                   8801 Exchange Drive                    P. O. Box 459
Pasadena, CA 91189-0512            Orlando, FL 32809-7970                 Grafton, IL 62037-0459




Ecolab, Inc.                       Frontier Lighting Inc.                 HD Supply Facilities Maint
P. O. Box 70343                    2090 Palmetto Street                   P. O. Box 509058
Chicago, IL 60673-0343             Clearwater, FL 33765-2134              San Diego, CA 92150-9058




Ecolab, Inc.                       G & R Plumbing Enterprises Inc         Heart of the House Hospitality
P. O. Box 32027                    2545 S Nashville Ave                   2346 S. Lynhurst Dr, Ste A201
New York, NY 10087-2027            Orlando, FL 32805-5255                 Indianapolis, IN 46241-5168




Edward Don & Co                    Grainger                               Heart of the House Hospitality
2562 Paysphere Circle              Dept 859552556                         P. O. Box 823424
Chicago, IL 60674-0025             Kansas City, MO 64141-6267             Philadelphia, PA 19182-3424
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Highrock Partners LLC                   Lapin Septic Tank Service Inc         Nalco Co LLC
2194 Briarhurst Dr                      3031 40th Street                      P. O. Box 70716
Highlands Ranch, CO 80126-2605          Orlando, FL 32839-8624                Chicago, IL 60673-0716




Holiday Hospitality Franchising, Inc.   M7 Services LLC                       Navisite Inc.
ATTN: Vice President                    19747 Highway 59 N #340               P. O. Box 10138
Franchise Administration & Licensing    Humble, TX 77338-3576                 Uniondale, NY 11555-0138
Three Ravinia Dr, Ste 2900
Atlanta, GA 30346-2149

I-Ride Trolley                          M7 Services LLC                       Nor1 Inc
7081 Grand National Dr, Ste 105         654 N SH Pkwy E, Ste 110              3945 Freedom Cir Ste 600
Orlando, FL 32819-8376                  Houston, TX 77060-5903                Santa Clara, CA 95054-1270




Industrial Laundry Services LL          Massey Services Inc.                  Ocean Bank
2302 Mercator Drive, Ste 102            P. O. Box 547668                      780 NW 42nd Ave Ste 400
Orlando, FL 32807-5300                  Orlando, FL 32854-7668                Miami, FL 33126




Innerworkings Inc.                      Mid-America Telephone Systems         Ocean Bank
7503 Solutions Ctr                      618 Cepi Drive Ste A                  c/o Gregory S. Grossman, Esq.
Chicago, IL 60677-7005                  Chesterfield, MO 63005-1365           1111 Brickell Ave. Ste 1250
                                                                              Miami, FL 33131



Interstate Hotels Company              Milestone Internet Marketing           Onpeak
c/o Interstate Hotels & Resorts Inc    3001 Oakmead Village Drive             8313 Collection Center Dr
ATTN: Chief Admin Officer & Gen CounselSanta Clara, CA 95051-0811             Chicago, IL 60693-0083
4501 N Fairfax Dr., Ste 500
Arlington, VA 22203

Iron Mountain                           Minuteman Press Sand Lake             Oracle America Inc.
P. O. Box 27128                         7751 Kingspointe Pkwy Ste 117         P. O. Box 203448
New York, NY 10087-7128                 Orlando, FL 32819-6503                Dallas, TX 75320-3448




Johnstone Supply                        Mood Media                            OUC
1651 S Rio Grande Avenue                P. O. Box 71070                       P. O. Box 31329
Orlando, FL 32805-4442                  Charlotte, NC 28272-1070              Tampa, FL 33631-3329




Kone Inc.                               Nalco Co LLC                          Over the Top Rental Linens
One Kone Court                          P. O. Box 730005                      6501 N Andrews Ave
Moline, IL 61265                        Dallas, TX 75373-0005                 Fort Lauderdale, FL 33309
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Plaza Resort Shoppes               Sherwin Williams                      Summit Broadband
9187 Ridge Pine Trl                8414 S. Orange Blossom Trail           P. O. Box 10822
Orlando, FL 32819-4821             Orlando, FL 32809-7906                Naples, FL 34101-0822




Profitsword                        Shoes for Crews Inc                   Summit Broadband Inc.
9355 Cypress Cove Drive            250 S. Australian Avenue               P. O. Box 10822
Orlando, FL 32809-5324             West Palm Beach, FL 33401-5018        Naples, FL 34101-0822




Profitsword                        Shred-It USA                          Summit Broadband Inc.
P. O. Box 865342                   P. O. Box 101007                      4558 35th Street Ste 100
Orlando, FL 32886-5342             Pasadena, CA 91189-1007               Orlando, FL 32811-6541




Proscape                           Shred-It USA                          Sunbrite Outdoor Furniture Inc.
285 E Oak Ridge Rd                 23166 Network Pl                      610 Irene Street
Orlando, FL 32809-4140             Chicago, IL 60673-1252                Orlando, FL 32805-1050




RD Pool Maint Inc                  Shred-It USA                          Superior Fire
2353 N Stewart St                  28883 Network Pl                      397 Enterprise St. Ste C
Kissimmee, FL 34746-3046           Chicago, IL 60673-1288                Ocoee, FL 34761-3035




Red Hawk Fires & Security LLC      Skal Intl Orlando                     System Tech Services Inc
P. O. Box 842422                   P. O. Box 720423                      851 Central Park Dr
Boston, MA 02284-2422              Orlando, FL 32872-0423                Sanford, FL 32771-6602




Red Hawk Fires & Security LLC      Southern Aluminum                     Talentwise
P. O. Box 530212                   P. O. Box 884                         P. O. Box 3876
Atlanta, GA 30353-0212             Magnolia, AR 71754-0884               Seattle, WA 98124-3876




Royal Cup Inc.                     Squirrel Systems                      Team Travel Source
P. O. Box 841000                   PMB 740                               12910 Shelbyville Road Ste 215
Dallas, TX 75284-1000              Blaine, WA 98230-4033                 Louisville, KY 40243-1594




Sheraton Lake Buena Vista          Staples Business Advantage            Teco
12205 Apopka-Vineland Rd           P. O. Box 70242                       P. O. Box 31318
Orlando, FL 32836                  Philadelphia, PA 19176-0242           Tampa, FL 33631-3318
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TG Lee Dairy                       UPS Freight
P. O. Box 746108                   P. O. Box 7247-0244
Atlanta, GA 30374-6108             Philadelphia, PA 19170-0001




The Battery Bank                   US Foodservice Inc.
2565 Pemberton Drive               P. O. Box 198421
Apopka, FL 32703-9458              Atlanta, GA 30384-8421




The Battery Bank                   Visit Orlando
4502 35th Street #700              6277 Sea Harbor Dr, Ste 400
Orlando, FL 32811                  Orlando, FL 32821-8028




Tingue Brown & Co                  Waste Connect
P. O. Box 824619                   1099 Miller Drive
Philadelphia, PA 19182-4619        Altamonte Springs, FL 32701-2069




Travelclick Inc                    Waste Connections of Florida
P. O. Box 71199                    P. O. Box 742695
Chicago, IL 60694-1199             Cincinnati, OH 45274-2695




Travelclick Inc                    Waste Connections of Florida
300 N Martingale Rd Ste 650        P. O. Box 535233
Schaumburg, IL 60173-2079          Pittsburgh, PA 15253-5233




TWC Services Inc                   Whaley Parts & Supply
5080 Highlands Pkwy, Ste A150      P. O. Box 615
Smyrna, GA 30082-5155              Lexington, SC 29071-0615




TWC Services Inc                   Whaley Parts & Supply
P. O. Box 1612                     P. O. Box 890962
Des Moines, IA 50306-1612          Charlotte, NC 28289-0962




Uniguest                           Winter Park Photography
P. O. Box 306225                   1808 Magnolia Ave
Nashville, TN 37230-6225           Winter Park, FL 32789-6312
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Universal Towers Construction, Inc.                                                              Case No.
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 31,352.50
             Prior to the filing of this statement I have received                                        $                 31,352.50
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 3, 2020                                                               /s/ Eric S. Golden, Esq.
     Date                                                                       Eric S. Golden, Esq.
                                                                                Signature of Attorney
                                                                                Burr & Forman LLP
                                                                                200 S. Orange Ave.
                                                                                Suite 800
                                                                                Orlando, FL 32801
                                                                                407-540-6600 Fax: 407-540-6601
                                                                                egolden@burr.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Universal Towers Construction, Inc.                                                         Case No.
                                                                                  Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Universal Towers Construction, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Constrazza International Construction, Inc.                           * See Note below
 100 N.E. 3rd Ave, Ste 280
 Fort Lauderdale, FL 33301
 Universal Towers Investimentos, Ltda
 Av. Isaac Povoas, 586,
 SI 04 Edf Wall St. Centr.
 Sul, Cuiaba MT 78.005 Brazil




    None [Check if applicable]


* Pursuant to that certain Final Judgment issued on March 13, 2020, in Case No. 2015-CA-008342-A, in the Circuit Court
of the 9th Judicial Circuit in and for Orange County, Florida, and sec. 607.1436(6), Fla. Stat., Constrazza International
Construction, Inc., has no rights or status as a shareholder of the Debtor except to receive the amounts awarded by the
Final Judgment. As a result, Universal Towers Investimentos, Ltda holds 100% of the shareholder rights and status with
respect to the outstanding shares of the Debtor’s stock, other than Constrazza’s bare economic right. The Debtor
reserves all rights to dispute or object to any claim asserted by Constrazza on account of its interests in the Debtor and
otherwise.




 July 3, 2020                                                        /s/ Eric S. Golden, Esq.
 Date                                                                Eric S. Golden, Esq.
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Universal Towers Construction, Inc.
                                                                     Burr & Forman LLP
                                                                     200 S. Orange Ave.
                                                                     Suite 800
                                                                     Orlando, FL 32801
                                                                     407-540-6600 Fax:407-540-6601
                                                                     egolden@burr.com




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